                                 Case 20-10432-MFW                      Doc 1        Filed 02/26/20           Page 1 of 14



Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            02/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Suitable Technologies, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  921 E. Charleston Road
                                  Palo Alto, California 94303
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                 Santa Clara                                                        Location of principal assets, if different from principal
                                 County                                                             place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.suitabletech.com


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
     25867149.1
                                       Case 20-10432-MFW                  Doc 1         Filed 02/26/20              Page 2 of 14
Debtor    Suitable Technologies, Inc.                                                                   Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                             Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                  3342

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                             Chapter 7
     debtor filing?
                                             Chapter 9
                                             Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. §101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                             Chapter 12



9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known


 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                 Case 20-10432-MFW                   Doc 1         Filed 02/26/20               Page 3 of 14
Debtor   Suitable Technologies, Inc.                                                             Case number (if known)
         Name




11. Why is the case filed in     Check all that apply:
    this district?
                                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or           No
    have possession of any
    real property or personal        Yes     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for
                                               example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).


                                             Other
                                             Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                 No
                                                         Insurance
                                                 Yes     agency
                                                         Contact name
                                                         Phone


         Statistical and administrative information

13. Debtor's estimation of                Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of              1-49                                           1,000-5,000                                 25,001-50,000
    creditors
                                     50-99                                          5001-10,000                                 50,001-100,000
     (on a consolidated basis)       100-199                                        10,001-25,000                               More than 100,000
                                     200-999

15. Estimated Assets                 $0 - $50,000                                   $1,000,001 - $10 million                    $500,000,001 - $1 billion
     (on a consolidated basis)       $50,001 - $100,000                             $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                            $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                          $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities            $0 - $50,000                                   $1,000,001 - $10 million                    $500,000,001 - $1 billion
     (on a consolidated basis)        $50,001 - $100,000                            $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                            $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                          $100,000,001 - $500 million                 More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
Case 20-10432-MFW   Doc 1   Filed 02/26/20   Page 4 of 14
               Case 20-10432-MFW             Doc 1     Filed 02/26/20      Page 5 of 14




                              UNANIMOUS WRITTEN CONSENT
                                          OF THE
                                  BOARD OF DIRECTORS
                                            OF
                              SUITABLE TECHNOLOGIES, INC.
                                   a Delaware corporation

                                           February 25, 2020

                The undersigned, being the sole member of the Board of Directors (the “Board”) of
Suitable Technologies, Inc., a Delaware corporation (the “Company”), hereby consents that the
actions recited herein shall be deemed the actions of the Board with the same effect as if taken at
a duly noticed and called meeting of the Board, and directs that this writing be filed with the
minutes of proceedings of that Board, all pursuant to the provisions of Section 141(f) of the
General Corporation Law of the State of Delaware:

           WHEREAS, it has been proposed that the Company pursue relief under the provisions
of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); and

           WHEREAS, the Board has received, reviewed, and considered the recommendations
of the Company’s Chief Restructuring Officer (the “CRO”) and legal and other professional
advisors as to the relative risks and benefits of pursuing a bankruptcy proceeding under chapter 11
of the Bankruptcy Code.

           NOW, THEREFORE, BE IT RESOLVED, based on factors and information
deemed relevant to the Board, in the judgment of the Board, it is desirable and in the best interests
of the Company, its creditors, and other interested parties that a petition (the “Petition”) be filed
pursuant to chapter 11 of the Bankruptcy Code on behalf of the Company;

            FURTHER RESOLVED, that the filing of a voluntary petition on behalf of the
Company be, and the same hereby is, approved and adopted in all respects and that the CRO, be
and hereby is, authorized and empowered on behalf of the Company, to execute, acknowledge,
deliver, and verify the Petition and to cause the same to be filed with the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) at such time as the CRO may
determine;

             FURTHER RESOLVED, that the CRO be, and hereby is, authorized to (a) execute
and file the Petition, along with all schedules of assets and liabilities, statements of financial affairs,
lists, and other papers that the CRO may deem necessary or proper in connection with such chapter
11 case, (b) execute, acknowledge, deliver, and verify any and all documents necessary or proper
in connection with the Petition and to administer the Company’s chapter 11 case in such form or
forms as the CRO may deem necessary or proper and in order to effectuate the foregoing
resolutions, and (c) engage any professionals, including attorneys, accountants, financial advisors,
investment bankers, actuaries, consultants, brokers or other experts, as the CRO deems necessary
or proper to accomplish the purposes of the resolutions;
               Case 20-10432-MFW           Doc 1     Filed 02/26/20     Page 6 of 14




            FURTHER RESOLVED, that Asgaard Capital LLC (“Asgaard Capital”) be, and
hereby is, authorized and empowered to provide additional staff to the Company and to assist the
Company in carrying out its duties under chapter 11 of the Bankruptcy Code, and to take any and
all actions to advance the Company’s rights and obligations in connection with the Company’s
chapter 11 case;

            FURTHER RESOLVED, that the law firm of Young Conaway Stargatt & Taylor,
LLP (“Young Conaway”), shall be, and hereby is, authorized, empowered, and directed to
represent the Company, as a debtor and debtor in possession, in connection with the Company’s
chapter 11 case, and to (a) execute, acknowledge, deliver, and verify the Petition and all other
ancillary documents, and to cause the Petition to be filed with the Bankruptcy Court and make or
cause to be made, prior to execution thereof, any modifications to the Petition or any ancillary
document as the CRO deems necessary, desirable, or appropriate to carry out the intent and
accomplish the purpose of these resolutions, (b) execute, acknowledge, deliver, verify, and file or
cause to be filed the Petition, along with all schedules, statements, lists, motions, applications, and
other papers or documents necessary or proper in connection with the foregoing, and (c) execute,
acknowledge, deliver, and verify any and all other documents necessary or proper in connection
therewith and to administer the Company’s chapter 11 case in such form or forms as the CRO may
deem necessary or proper and in order to effectuate the purpose of the intent of the foregoing
resolutions;

            FURTHER RESOLVED, that Stout Risius Ross Advisors, LLC (“Stout”) be, and
hereby is, authorized, empowered, and directed to represent the Company as its investment banker
in connection with the Company’s chapter 11 case;

            FURTHER RESOLVED, that Donlin, Recano & Company, Inc. (“Donlin” and
together with Asgaard Capital, Young Conaway, and Stout, collectively, the “Advisors”) be, and
hereby is, authorized, empowered, and directed to represent the Company as its claims, noticing
and administrative agent in connection with the Company’s chapter 11 case;

           FURTHER RESOLVED, that the Advisors are hereby authorized to take any and all
actions necessary or desirable to advance the Company’s rights and obligations and facilitate the
Company’s chapter 11 case;

            FURTHER RESOLVED, that in connection with the Company’s chapter 11 case, the
CRO shall be, and hereby is, authorized, directed, and empowered, in the name and on behalf of
the Company, as a debtor and debtor in possession, to negotiate, execute, and deliver agreements
for the use of cash collateral in connection with the Company’s chapter 11 case, which
agreement(s) may require the Company to acknowledge the debt and liens of existing loans, grant
liens, and pay interest to the Company’s existing lender(s); and in connection therewith, the CRO
is hereby authorized and directed to execute appropriate agreements and related ancillary
documents;

           FURTHER RESOLVED, that in connection with the Company’s chapter 11 case, the
CRO shall be, and hereby is, authorized, directed, and empowered, in the name and on behalf of
the Company, as a debtor and debtor in possession, to negotiate, execute, and deliver agreements
for post-petition financing, including under debtor-in-possession credit facilities; and to pledge
              Case 20-10432-MFW           Doc 1     Filed 02/26/20     Page 7 of 14




and grant liens on the Company’s assets as may be contemplated by or required under the terms
of such post-petition financing; and in connection therewith, the CRO is hereby authorized and
directed to execute appropriate loan agreements and related ancillary documents;

           FURTHER RESOLVED, that the CRO shall be, and hereby is, authorized, directed,
and empowered, in the name and on behalf of the Company, as a debtor and debtor in possession,
to negotiate, execute, deliver, and perform on behalf of the Company such actions and execute,
acknowledge, deliver and verify such agreements, certificates, instruments, guaranties, notices,
and any and all other documents, as the CRO may deem necessary or proper to facilitate the
transactions contemplated by these resolutions; and

            FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken prior to
the date hereof by the CRO or any professionals engaged by the Company with respect to any
transactions contemplated by the foregoing resolutions, or otherwise in preparation for or in
connection with the Company’s chapter 11 case, or any proceedings related thereto, or any matter
related thereto, be and hereby are, adopted, approved, ratified, and confirmed in all respects as the
acts and deeds of the Company as if such acts and deeds took place after the date of these
resolutions.

                                    [Signature Page Follows]
Case 20-10432-MFW   Doc 1   Filed 02/26/20   Page 8 of 14
                               Case 20-10432-MFW               Doc 1       Filed 02/26/20         Page 9 of 14


Fill in this information to identify the case:

Debtor name: Suitable Technologies, Inc.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 20-_____

                                                                                                                                ¨ Check if this is an
                                                                                                                                        amended filing

Official Form 204
List of Largest Unsecured Creditors (Excluding Insiders)
                                                                                                                                                  12/15

A list of creditors holding the 20 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
Largest unsecured claims.

    Name of creditor and complete      Name, telephone number,       Nature of the      Indicate if   Amount of unsecured claim
    mailing address, including zip     and email address of creditor claim              claim is      If the claim is fully unsecured, fill in only unsecured
    code                               contact                       (for example,      contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,       unliqui-      total claim amount and deduction for value of
                                                                     bank loans,        dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional       disputed
                                                                     services, and                    Total claim, if    Deduction for      Unsecured
                                                                     government                       partially          value of           claim
                                                                     contracts)                       secured            collateral or
                                                                                                                         setoff

1   Morrison & Foerster LLP            fgelat@mofo.com                Professional        ¨C                                                $417,022.52
    425 Market Street                  Tel: 415-268-7000              Payable
    San Francisco CA 94105             Fax: 415-268-7522                                  ¨U
                                                                                          ¨D
2   Level 3 Communications (aka        billing@level3.com             Trade Payable       ¨C                                                $5,275.43
    CenturyLink)                       Tel: 877-453-8385
    PO Box 910182                      Fax: 814-260-2423                                  ¨U
    Denver CO 80291-0182
                                                                                          ¨D
3   Equinix, Inc.                      billing@equinix.com            Trade Payable       ¨C                                                $4,440.86
    4252 Solutions Center              Tel: 866-979-3749
    Chicago IL 60677-4002                                                                 ¨U
                                                                                          ¨D
4   TUV Rheinland North America        info@tuv.com                   Trade Payable       ¨C                                                $1,695.00
    Box 392672                         Tel: 203-426-0888
    Pittsburgh PA 15251-9672           Fax: 203-426-4009                                  ¨U
                                                                                          ¨D
5   Digital BH 800 LLC                 ar@digitalrealty.com           Trade Payable       ¨C                                                $1,387.74
    4 Embarcadero Center STE 3200      Tel: 855-955-2655
    San Francisco CA 94111             Fax: 415-275-5445                                  ¨U
                                                                                          ¨D
6   American Registry for Internet     billing@arin.net               Trade Payable       ¨C                                                $900.00
    Numbers                            Tel: 703-227-9886
    PO Box 759477                      Fax: 703-997-8708                                  ¨U
    Baltimore MD 21275-9477
                                                                                          ¨D
7   Airgas USA, LLC                    wdiv.achbu@airgas.com          Trade Payable       ¨C                                                $175.85
    PO Box 102289                      Tel: 562- 627-3070
    Pasadena CA 91189-2289                                                                ¨U
                                                                                          ¨D




Official Form 204         List of Largest Unsecured Creditors (Excluding Insiders)                                                              Page 1
                         Case 20-10432-MFW              Doc 1      Filed 02/26/20       Page 10 of 14




                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                   )
         In re:                                                    )   Chapter 11
                                                                   )
         SUITABLE TECHNOLOGIES, INC.,1                             )   Case No. 20–________ (___)
                                                                   )
                                   Debtor.                         )
                                                                   )

                         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                          AND LIST OF EQUITY INTEREST HOLDERS PURSUANT
                           TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

                          Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

         Bankruptcy Procedure, the above-captioned debtor and debtor in possession (the “Debtor”), to

         the best of its knowledge, information and belief, hereby states as follows:

                          1.       Greenheart Investments (43.82%) is the only corporation that directly or

         indirectly owns 10% or more of any class of interests in the Debtor.

                          2.       The following chart lists all equity security holders of the Debtor:

                               Name & Address                    Percentage                Number
                     Bauer, Robert                               0.44%            34,227
                     25134 Rye Canyon Loop
                     Suite 200
                     Santa Clarita, CA 91355

                     4538 Alpine Rd
                     Portola Valley, CA 94028
                     Bhalala, Milan                              0.88%            68,455
                     806 Cape Cod Dr.
                     Redwood City, CA 94065




         1
           The last four digits of the Debtor’s federal tax identification number are 7816. The Debtor’s mailing address is
         921 E. Charleston Road, Palo Alto, California 94303.
25867456.2
               Case 20-10432-MFW         Doc 1       Filed 02/26/20   Page 11 of 14




             Bietzer, Steven                     0.56%          43,812
             535 Hillswick Cir.
             Folsom, CA 95630

             431 Dinahs Ct.
             Apt. # 10
             Palo Alto, CA 94306
             Carlberg, Christian                 0.56%          43,812
             703 Rancho Dr.
             San Luis Obispo, CA 93405
             Drula, Catalin                      0.19%          15,000
             Duong, Peter                        0.60%          46,317
             2710 Othello Ave.
             San Jose, CA 95122
             Faust, Josh                         1.89%          146,970
             26300 Cedar Rd.
             Suite 1410
             Beachwood, OH 44122

             3250 Oneal Cir. #C22
             Boulder, CO 80301
             Flippo, Sherri                      0.05%          4,082
             131 Stanyan St.
             San Francisco, CA 94118
             Gassend, Blaise                     1.89%          146,970
             958 Baines St.
             Palo Alto, CA 94303
             Goecker, Dallas                     4.12%          319,470
             1915 Brent Blvd.
             Seymour, IN 47274
             Greenheart Investments              43.82%         3,400,000
             c/o Mr. Scott Hassan
             Manager
             548 Market Street, #63636
             San Francisco, CA 94104




25867456.2
                                                 2
               Case 20-10432-MFW         Doc 1       Filed 02/26/20   Page 12 of 14




             Hamilton, Gregory                   0.63%          48,756
             2600 Tiburon Dr.
             Naples, FL 34109

             1008 Redmond Ave.
             San Jose, CA 95120
             Hassan, Scott                       7.73%          600,000
             548 Market Street, #63636
             San Francisco, CA 94104

             Lee, Stephanie                      0.63%          48,756
             2250 Latham St. Apt 35
             Mountain View, CA 94040
             Lefevere, Francois-Marie            1.78%          138,220
             1241 Highland Pl.
             Erie, CO 80516
             Leibs, Jeremy                       1.74%          134,826
             1709 Los Altos Dr.
             San Mateo, CA 94402
             Lempesis, Brianna                   0.19%          14,521
             5371 Via Aquario
             San Diego, CA 92111

             71 Greg Ct.
             Alamo, CA 94507
             Li, Daiwei                          0.56%          43,812
             977 Asilomar Ter.
             Apt. 2
             Sunnyvale, CA 94086

             1352 Johnson
             San Jose, CA 95129
             Li, Emily                           0.39%          30,125
             820 N Justin Pl.
             Anaheim, CA 92801
             Lundmark, David                     11.12%         862,500
             916 Seena Ave.
             Los Altos, CA 94024




25867456.2
                                                 3
               Case 20-10432-MFW         Doc 1       Filed 02/26/20   Page 13 of 14




             Meyers, Curt                        2.82%          218,845
             1287 City View Pl.
             San Jose, CA 95127
             Miramontez, David                   0.39%          30,125
             143 El Bosque Dr.
             San Jose, CA 95134
             Ngyuen, J. Daniel                   0.33%          25,900
             2346 Club Dr.
             Gilroy, CA 95020
             O’Quinn, George                     0.45%          35,049
             2604 Custer Dr.
             San Jose, CA 95124
             Preising, Boris                     3.71%          287,500
             1142 Byron St.
             Palo Alto, CA 94301
             Rapacki, Erin                       0.53%          41,488
             208 Barton Springs Rd.
             Austin, TX 78704

             183 Franklin St.
             Apt. 8
             San Francisco, CA 94102
             Reuter, Michael                     0.56%          43,812
             3351 Brunell Dr.
             Oakland, CA 94602
             Shieu, Alex                         0.56%          43,812
             1259 Burnham Dr.
             San Jose, CA 95132
             Tyler, Joshua Rogers                2.52%          195,500
             335 Pearl Ave.
             San Carlos, CA 94070
             Wheeler, Robert                     1.89%          146,970
             11529 Rock Spring Ct.
             Cupertino, CA 95014
             Willow Garage, Inc.                 6.44%          500,000
             c/o Mr. Scott Hassan
             Manager
             548 Market Street, #63636
             San Francisco, CA 94104

25867456.2
                                                 4
Case 20-10432-MFW   Doc 1   Filed 02/26/20   Page 14 of 14
